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       In the United States Court of Federal Claims
                                          No. 96-166 C

                                (Originally Filed: April 17, 2009)
                            (Reissued for Publication: May 15, 2009)

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                           *                    Motion to strike; patent invalidity
 ZOLTEK CORPORATION,       *                    under 35 U.S.C. § 103;
                           *                    requirement to consider evidence
                Plaintiff, *                    of secondary considerations of
                           *                    non-obviousness; effect of the
 v.                        *                    military and state secrets
                           *                    privilege; using the military and
 THE UNITED STATES,        *                    state secrets privilege as a
                           *                    “sword” and “shield”; waiver of
                Defendant. *                    sovereign immunity in 28 U.S.C.
                           *                    § 1498
 *********************

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Gary L. Hausken, Commercial Litigation Branch, Civil Division, United States Department of
Justice, Washington, DC, for Defendant, with whom were John Fargo, Director, and Peter
Keisler, Assistant Attorney General.

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                                          OPINION
                                     ___________________

DAMICH, Judge:

        This patent infringement case is before the Court on a motion by Plaintiff, Zoltek Corp.
(“Zoltek”), to strike a pending motion for summary judgment filed by Defendant, the United
States (“the Government”). The Government’s pending motion for summary judgment seeks a
determination that the asserted claims of Zoltek’s patent are invalid under 35 U.S.C. § 103 as
being obvious in light of certain prior art. As part of its opposition to the Government’s motion,
Zoltek would like to argue that secondary indicia of non-obviousness exist. However, because
the Court has upheld the Government’s assertion of the state secrets privilege in this case, Zoltek
believes it is being prevented from obtaining evidence that might help establish the existence of
the secondary indicia of non-obviousness. Thus, Zoltek seeks to have the Government’s motion
struck on the basis that the Government should not be permitted to bring an “offensive” motion
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(such as one to extinguish a patent right) while using the state secrets privilege to block
discovery relating to a defense to the motion.

        Initially, the Court was attracted to Zoltek’s argument that the Government ought not to
be able to argue for the destruction of Zoltek’s patent right and at the same time prevent Zoltek
from obtaining the evidence necessary to counter the argument. But upon closer examination of
the cases and the circumstances, the Court can find no ground upon which to deny the
Government its opportunity to raise the defense of invalidity under § 103 and, therefore, must
deny Zoltek’s motion to strike. First, the Government cannot be made to suffer adverse
consequences as the price for invoking the state secrets privilege to preserve our nation’s safety
and, here, to do so would essentially increase the Government’s liability under 28 U.S.C. § 1498
without its consent. Second, Zoltek already has some evidence of secondary indicia and has the
opportunity perhaps to obtain more. Finally, Zoltek has the option, after weighing the risks, to
dismiss its suit and eliminate this threat to its patent right—albeit that this option is not very
attractive.

I.     Background

        This case concerns the alleged infringement of United States Patent No. Re. 34,162 (“the
‘162 patent”), belonging to Zoltek. Zoltek has alleged that the Government, by and through the
Department of the Air Force, caused the manufacture of carbon fiber sheet or mat products
according to processes covered by the ‘162 patent. These products were allegedly incorporated
into the B-2 Stealth Bomber (“the B-2”) manufactured by Northrop Grumman Corporation
(“Northrop”).

        For much of the pendency of this case, Zoltek has been attempting (often unsuccessfully)
to obtain discovery from the Government and Northrop concerning the nature of the carbon fiber
products used on the B-2. To give some context for the Court’s opinion below, a brief
discussion of relevant highlights of the discovery process will be provided. For example, in
1996, Zoltek requested that the Government “[i]dentify all U.S. specifications and requirements
for Stealth capability for each and every weapon, weapon system, item, or object purchased,
used, or sold by the U.S. for the years 1984-present.” The Government denied this request on
the basis that it sought classified information. In 1999, Zoltek had some success when it served a
request for physical samples of the types of carbon fiber products used on the B-2. The
Government at first refused to comply with Zoltek’s request, but the Court eventually ordered
the Government to produce samples of the most pertinent types of carbon fiber mats and a
carbon fiber surfacer.

        In 2001, Zoltek served subpoenas on Northrop commanding deposition testimony from
several employees. One of the named deponents was Mr. George Rodgers, an engineer in
Northrop’s B-2 division who had authored a letter referring to Zoltek’s invention as providing
unique results. Northrop refused to comply with the subpoenas, stating that they “would require
the disclosure of information which is classified and/or otherwise protected from discovery.”
After some discussion on the matter, Zoltek submitted a narrowed list of nineteen questions
which Zoltek wished to ask the Northrop employees. An Air Force security officer reviewed the

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questions and determined that the deponents would not be permitted to answer eleven of the
nineteen questions, due to security concerns. Zoltek evidently never posed the eight permissible
questions, instead opting to file an immediate motion to compel.

         The Court denied Zoltek’s motion to the extent that it requested any classified
information and placed limitations on the scope and form of Zoltek’s discovery of non-classified
information, most notably, requiring depositions to take place by written question only. It does
not appear, however, that the written deposition questions were ever posed. Instead,
approximately a year later, Zoltek filed a motion to modify the Court’s order to permit
videotaped depositions of the Northrop employees. An oral argument was held, after which the
Court decided to postpone decision on Zoltek’s motion and, for clarification, ordered Zoltek to
“list with great specificity” the information it was seeking to discover from Northrop and submit
the list to the Court and to the Government.

         Zoltek filed its discovery wish list on October 5, 2005. The wish list was not, on its face
at least, limited to the B-2 alone, nor was it particularly specific. For example, one item on the
wish list requested “[a]ll documents that relate to the engineering, design and/or description of
the process used to produce any and all partially carbonized fibers purchased by or for
Northrop.” The Court discussed the list in camera with the Government and was left with the
impression that Zoltek would be able to obtain significantly more discovery if it obtained
security clearances for its counsel.

        Zoltek’s counsel finally obtained security clearances, but on May 15, 2007, the
Government formally invoked the military and state secrets privilege for the first time. Although
the Government, in its discussions with the Court and with Zoltek’s counsel, had been careful
not to promise anything specific about easier access to information after Zoltek’s counsel
obtained their security clearances, the invocation of the state secrets privilege, nevertheless,
came as somewhat of a surprise. In its invocation of the privilege, the Government attached a
declaration from Secretary Wynne of the U.S. Air Force that defined the scope of the invocation
of privilege as limited generally to information pertaining to two topics: “the relationship or lack
thereof between the electrical characteristics of the B-2 aircraft and the carbon fibers used in its
construction” and “the B-2 aircraft’s emission and reflection of energy in any spectra.” Shortly
after the Government’s invocation of the state secrets privilege, Zoltek withdrew its motion to
modify the Court’s order to permit videotaped depositions of Northrop employees and, instead,
filed a motion to deny the Government’s invocation of the state secrets privilege altogether.
Around the same time, the Government filed a motion for summary judgment seeking a
determination that the asserted claims of Zoltek’s patent are invalid as being obvious in light of
certain prior art. Rather than file an opposition addressing the substance of the Government’s
motion, Zoltek filed the present motion to strike. Briefing on the Government’s motion for
summary judgment has been stayed, pending decision on Zoltek’s motion to deny the invocation
of privilege altogether and its motion to strike the Government’s motion for summary judgment.
In a previous opinion, the Court denied Zoltek’s motion to deny the invocation of privilege,
finding that the Government did properly invoke the state secrets privilege.



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II.    Zoltek’s Present Motion to Strike

       A.      The Basis for Zoltek’s Argument

               1.      United States v. Reynolds

        Zoltek’s main argument, that the Government should not be permitted to bring an
“offensive” motion (such as one to extinguish a patent right) while using the state secrets
privilege to block discovery relating to a defense to the motion (such as evidence of secondary
indicia), is based on the “rationale of the criminal cases” described in the U.S. Supreme Court
case of United States v. Reynolds, 345 U.S. 1, 73 S. Ct. 528 (1953).

        In Reynolds, the Government asserted the privilege against disclosure of “military and
state secrets” in order to withhold documents that the plaintiffs sought as part of their Federal
Tort Claims Act suit against the Government. Id. at 6-7, 73 S. Ct. at 531. The U.S. District
Court for the Eastern District of Pennsylvania ordered that the documents be produced in camera
so that the court might determine whether the documents contained privileged matter. When the
Government declined, the court entered an order that “the facts on the issue of negligence would
be taken as established in plaintiffs’ favor.” Id. at 5, 73 S. Ct. at 530. After a hearing to
determine damages, a final judgment was entered for plaintiffs, which the Court of Appeals
affirmed. The U.S. Supreme Court reversed, holding that a sufficient showing had been made by
the Government “to cut off further demand for the document.” Id. at 11, 73 S. Ct. at 533.

        Although the thrust of the opinion was aimed at the proper invocation of the privilege, the
Court seemed also to comment on the District Court’s determination that the Government’s
insistence on the privilege (leaving the plaintiffs at a disadvantage) resulted in a finding of fact
on the issue of negligence in the plaintiffs’ favor: 1

       [Plaintiffs] have cited us to those cases in the criminal field, where it has been
       held that the Government can invoke its evidentiary privileges only at the price of
       letting the defendant go free. The rationale of the criminal cases is that, since the
       Government which prosecutes an accused also has the duty to see that justice is
       done, it is unconscionable to allow it to undertake prosecution and then invoke its
       governmental privileges to deprive the accused of anything which might be
       material to his defense. Such rationale has no application in a civil forum where
       the Government is not the moving party, but is a defendant only on terms to which
       it has consented.

Id. at 12, 73 S. Ct. at 534 (emphasis added) (citing United States v. Andolschek, 142 F.2d 503 (2d
Cir. 1944), United States v. Beekman, 155 F.2d 580 (2d Cir. 1946)).



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  Almost the entire opinion is devoted to the issue of whether the Government had sufficiently
invoked the privilege. Without providing any context, the Court suddenly turned to the effect
that the invocation of a privilege should or should not have on a case.
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         Zoltek relies on the “rationale of the criminal cases” articulated in the above quotation
from Reynolds to argue that the Government’s motion in the case at bar is analogous to a
criminal prosecution so that it is “unconscionable” to allow the Government to argue for the
invalidity of Zoltek’s patent and “then invoke its governmental privileges to deprive [Zoltek] of
anything which might be material to [its] defense.” But the complete quotation above also
contains a statement that this rationale has no applicability in a civil case “where the Government
is not the moving party but is a defendant only on terms to which it has consented.” Id.
Therefore, Zoltek argues that in the case at bar the Government is the “moving party,” that is, of
a motion for summary judgment, and the exception for civil cases only applies when the
Government “is not the moving party.”

        This Court, however, believes that Zoltek misinterprets the Supreme Court’s statement in
Reynolds regarding the rationale in civil cases. Although the phrase “moving party” is somewhat
ambiguous, the more convincing interpretation is that “moving party” means the plaintiff in a
civil case. Therefore, the Supreme Court is saying that the rationale of the criminal cases applies
except in civil cases where the Government is not the plaintiff, that is, where the Government is
the defendant. Since the Government in this case is not the moving party (plaintiff) as Reynolds
uses the phrase, the rationale of the criminal cases does not apply.

       There are two reasons for this conclusion:

        First, in the sentence prior to the one being discussed, the Supreme Court describes the
criminal case in which the Government prosecutes the accused. In the next sentence (the
sentence discussed here), the Court contrasts the civil case where the Government is the
defendant. The Court adopts the phrase, “moving party,” instead of “plaintiff” because the Court
wishes to capture the role of the Government as prosecutor and as plaintiff. In other words, the
Government is the “moving party” (prosecutor) in criminal cases and is not the “moving party”
(plaintiff) in the civil cases the Court is describing.

        Second, the word “but” in the sentence under discussion contrasts the “moving party,” on
the one hand, and the “defendant,” on the other. In the case of a motion, the usual contrasting
party to the “moving party” is the “nonmoving party.” Furthermore, if by “moving party,” the
Supreme Court literally meant whichever party happens to bring a motion in a civil suit, which
could be the defendant, then the contrast with “a defendant” in the general context would not
make sense because being a moving party does not exclude being a defendant.

         Thus, the Supreme Court’s statement in Reynolds should be read as holding that the
rationale of the criminal cases does not apply when the Government is the defendant in a civil
suit, as in the case at bar. At this stage of analysis, one might conclude that Reynolds is not an
obstacle for the Government in both asserting the state secret privilege and in maintaining its
motion for summary judgment, since the rationale of the criminal cases does not apply whenever
the Government is the defendant in a civil suit.

       But the Reynolds court was not faced with the precise issue of the Government on the
offensive, as with a summary judgment motion that might extinguish the nonmoving party’s

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property right. Arguably, Reynolds is only controlling when the issue before the court is simply
one in which the Government is the defendant and is asserting a privilege that disadvantages the
plaintiff’s case. Thus, Reynolds is only applicable by analogy to the issue before this Court, and
the analogy is to a situation in which the party asserting the privilege is also the one on the
offensive, as, for example, when the Government is engaged in a criminal prosecution. On this
level, the Court’s observation in Reynolds about the structure of a typical civil suit is not
instructive.

                2.     The Self-Incrimination Cases

          A closer analogy may be found in the self-incrimination cases from other jurisdictions
that Zoltek cites. In these cases, the plaintiff’s case was dismissed because the plaintiff asserted
the privilege against self-incrimination, depriving the defendant of access through discovery to
information that it needed to defend itself. In such situations, the plaintiff is on the offensive
(i.e., is bringing the suit) and is invoking the privilege to the defendant’s disadvantage, a
situation more like the one before this Court. Bramble v. Kleindienst, 357 F.Supp. 1028, 1036
(D. Colo. 1973) (plaintiff’s case was dismissed because plaintiff asserted the privilege to evade
deposition questions relating to plaintiff’s claim); Indep. Prods. Corp. v. Loews, Inc., 22 F.R.D.
266, 276-77 (S.D.N.Y. 1958) (same); Lyons v. Johnson, 415 F.2d 540, 541-42 (9th Cir. 1969)
(same); Kisting v. Westchester Fire Ins. Co., 290 F. Supp. 141, 149 (W.D. Wis. 1968) (plaintiff’s
case was dismissed because plaintiff asserted the privilege to evade deposition questions relating
to defendant’s defense); Laverne v. Incorp. Village of Laurel Hollow, 18 N.Y.2d 635, 637-38
(1966) (same); Pavlinko v. Yale-New Haven Hospital, 192 Conn. 138, 146-47, 470 A.2d 246,
251-52 (Conn. 1984) (same). The reasoning in these cases was that it would be improper, from
the standpoint of both fairness and due process, to permit the use of the privilege as both a shield
and a sword to force the defendant to face a claim while denying the opportunity to present a full
defense. See, e.g., Bramble, 357 F.Supp. at 1036; Lyons, 415 F.2d at 542. These cases, Zoltek
believes, applied the “rationale of the criminal cases” discussed in Reynolds, although none of
these cases cite Reynolds. 2

        If Reynolds is not controlling on the precise issue before this Court, should this Court
adopt by analogy the rationale of the self-incrimination cases in which the party on the offensive
is also asserting the evidentiary privilege to the detriment of the defender? On the surface, the
principle that the Government ought not to use its “shield” (the state secrets privilege) to deny
Zoltek the opportunity to fully defend itself against the “sword” of patent invalidity is appealing.

        In the end, however, this Court must conclude that the analogy to the self-incrimination
cases is not exact enough to be persuasive because of: (1) the subtle difference in procedural
posture between those cases and this case and (2) the doctrine of sovereign immunity.




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    This may be because Reynolds concerned a defendant asserting a privilege.
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       B.       The Difference Between a Claim (or Counterclaim) and an Affirmative
                Defense in the Context of a “Sword and Shield” Argument

        Zoltek’s analogy to the self incrimination cases is imperfect and, as a result, unpersuasive
because the Government here is arguing that Zoltek’s claims are obvious merely in the context of
an affirmative defense to infringement, rather than in the context of a counterclaim for a
declaration of invalidity.

          As the Court has discussed above, the “rationale of the criminal cases” did not apply in
Reynolds because the party asserting the privilege (the Government) was the defendant. See
Reynolds, 345 U.S. at 12, 73 S. Ct. at 534. Thus, any prejudice resulting from the privileged
evidence being withheld fell upon the plaintiffs, the parties offensively asserting a claim. In
contrast, the same sort of rationale was found to apply in the self-incrimination cases, because
the parties asserting the privilege were also the parties on the offensive (the plaintiffs), asserting
their claims against the defendants. See, e.g., Bramble, 357 F.Supp. at 1036; Lyons, 415 F.2d at
542. Thus, the prejudice resulting from the privileged evidence being withheld unfairly fell upon
the party that was being forced to defend against the claim, not the party that was bringing the
claim. See, e.g., Loews, 22 F.R.D. at 277 (noting the importance of the fact that the “[p]laintiffs .
. . initiated the action and forced defendants into court”). This notion of unfairness parallels the
“rationale of the criminal cases,” in which courts held that it was unconscionable (and
unconstitutional) for the Government to bring charges against a defendant while using the state
secrets privilege to deny the defendant access to evidence that may have been material to his or
her defense. See, e.g., Andolschek, 142 F.2d at 506; accord Jencks v. United States, 353 U.S.
657, 671-72, 77 S. Ct. 1007, 1015 (1957) (applying the “rationale of the criminal cases”); United
States v. Coplon, 185 F.2d 629, 638 (2d Cir. 1950) (same).

        Here, however, the Government is asserting obviousness merely as an affirmative
defense. See Answer to 2d Am. Compl. ¶ 18 (listing invalidity under § 103 as one of the
“Defenses”). Thus, Zoltek is not being “forced” to defend against a challenge to the validity of
its patent. If Zoltek decided to voluntarily dismiss its case prior to a decision on the
Government’s motion for summary judgment, this Court would not (and could not) make any
determination regarding validity, as the Government’s affirmative defense would no longer be
before the Court. See Cardinal Chem. Co. v. Morton Intern., Inc., 508 U.S. 83, 93-95, 113 S. Ct.
1967, 1973-74 (1993). If, on the other hand, the Government had asserted a counterclaim
seeking a declaration that the claims of Zoltek’s patent are invalid, then a voluntary dismissal by
Zoltek would not be an escape from the challenge to its patent. 3 See RCFC 13(i); 6 Charles A.
Wright, et al., Federal Practice & Procedure § 1437 (2009). In other words, Zoltek would only
be in the position of being “forced” to defend the validity of its patent if the Government were
offensively asserting invalidity as a counterclaim. As the case stands now, Zoltek is free to

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  Because the Government did not assert a counterclaim for a declaration of invalidity, the Court
need not address whether it would even have been possible for the Government to do so. In all
likelihood, it would not have been, given the unusual way this Court’s patent jurisdiction is set
forth. See 28 U.S.C. § 1498(a). This qualification, however, has no bearing on the distinction
between an affirmative defense and a counterclaim.
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assess the risk of proceeding with its case (and confronting the Government’s affirmative
defense of invalidity) and to choose to walk away from the litigation (or not). This freedom is
the important distinction between the present case and the self-incrimination cases: when the
prejudice resulting from the privileged evidence being withheld fell on the defendants in the self-
incrimination cases, they were not able to simply choose to walk away from the litigation. It was
for that reason that the courts in the self-incrimination cases had to dismiss the plaintiffs’ claims.

        Furthermore, if the Court were to grant Zoltek’s motion and prevent the Government
from asserting obviousness, then the Government would wind up in a position somewhat like
those of the defendants in the self-incrimination cases: the Government would be forced to face
Zoltek’s infringement claim without being able to fully defend itself because of a proper
invocation of privilege. In addition to being unfair, as the Court will discuss next, such a
situation would violate the principle of sovereign immunity.

       C.      Sovereign Immunity and the Impact of Denying the Government’s Defense

       In the Court’s view, denying the Government the opportunity to assert invalidity as an
affirmative defense would essentially increase the scope of the Government’s potential liability
under § 1498.

         “Because it is a sovereign, the United States may be sued only to the extent that it has
consented to suit by statute, and the terms of that consent define the jurisdiction of the court to
hear those suits.” Shore v. United States, 9 F.3d 1524, 1525 (Fed. Cir. 1993) (citing United
States v. Testan, 424 U.S. 392, 399, 96 S. Ct. 948, 953 (1976)). An action for patent
infringement brought against the Government is limited in scope by the strict terms, defined in
28 U.S.C. § 1498, upon which Congress has consented that the Government be subject to suit.
McDonnell Douglas Corp. v. United States, 323 F.3d 1006, 1023 (Fed. Cir. 2003); see also In re
United States, 872 F.2d 472, 476 (D.C. Cir. 1989) (after invoking the state secrets privilege,
“[n]otions of sovereign immunity preclude any further adverse consequence to the government . .
. .”); Salisbury v. United States, 690 F.2d 966, 975 (D.C. Cir. 1982) (“[A]n adverse finding
cannot be rendered against [the Government] as the price of asserting an evidentiary privilege.
This is not one of the terms upon which Congress has consented that the United States be
subjected to liability.”) (quoting E. Cleary, McCormick’s Handbook of Evidence § 109 (2d ed.
1972)).

         The Court is not prepared to find that Congress has consented to subject the Government
to suit for patent infringement liability while being denied the opportunity to assert a defense
such as invalidity under 35 U.S.C. § 103. Being denied this defense would, in essence, expand
the Government’s exposure to liability under § 1498. Indeed, the legislative history of § 1498
does seem to indicate that Congress intended the opposite–that the Government would be
afforded the full complement of defenses available to alleged infringers. From 1910, when it
was first enacted, to the 1948 revisions, the predecessor statute to § 1498 stated that the
Government could be sued for infringement “[p]rovided . . . [t]hat in any such suit the United
States may avail itself of any and all defenses . . . that might be pleaded by a defendant in an
action for infringement, as set forth in [the Patent Act].” Compare Act of June 25, 1910, ch. 423,

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36 Stat. 851 with Act of June 25, 1948, ch. 646, 62 Stat. 941 (emphasis in original). When this
language was removed in 1948, the Senate Judiciary Committee’s Report stated that the
“[p]rovisions . . . relating to [the] right of the United States to any . . . defense available to
defendants in patent infringement suits were omitted as unnecessary. In the absence of statutory
restriction, any defense available to a private party is equally available to the United States.” S.
Rep. No. 80-1559 (1948).

        Thus, extending the “rationale of the criminal cases” to apply to a case situated such as
this one would be contrary to the notion that waivers of sovereign immunity must be strictly
construed. Denying the Government an opportunity to assert its affirmative defense of
obviousness would essentially, and improperly, increase the Government’s exposure to liability.
II.    The Relevance and Importance of the Evidence of Secondary Indicia of Non-
       obviousness at Stake

       Having determined that the Government cannot be denied the opportunity to bring its §
103 defense simply due to its invocation of the state secrets privilege, the Court will now
examine the extent to which the denial of evidence of secondary indicia will actually prejudice
Zoltek and determine how best to proceed.

       In its motion, Zoltek vaguely asserts that sometime during the course of discovery, as
described in section (I) above, the Government denied Zoltek access to evidence concerning
secondary indicia of non-obviousness that is critical to Zoltek’s defense. While the Court
believes that a substantial percentage of Zoltek’s discovery attempts to date have been aimed at
evidence concerning infringement and damages and not necessarily at secondary indicia of non-
obviousness, Zoltek’s counsel did explain to the Court, at a status conference held on February
23, 2009, how at least some of Zoltek’s attempts were relevant to secondary indicia of non-
obviousness. The Government’s counsel confirmed that such attempts would continue to be
blocked on the basis of the state secrets privilege. Thus, the Court is satisfied that Zoltek’s
motion regards an actual, rather than predicted, denial of discovery relating to secondary indicia.
However, as the Court will explain below, the impact of this denial is probably not as great as
Zoltek would have the Court believe.

       A.      The Legal Relevance of Secondary Indicia of Non-obviousness

        Secondary indicia of non-obviousness, such as commercial success, long felt need,
copying, disbelief, unexpected results, and failure of others, constitute one of the factors that can
be used to determine whether a patent claim is invalid under 35 U.S.C. § 103. KSR Intern. Co. v.
Teleflex, Inc., 550 U.S. 398, 406, 127 S. Ct. 1727, 1734 (2007) (citing Graham v. John Deere
Co., 383 U.S. 1, 15-17, 86 S. Ct. 684 (1966)); see also Kansas Jack v. Kuhn, 719 F.2d 1144,
1150-51 (Fed. Cir. 1983). Zoltek asserts that giving consideration to evidence of these
secondary indicia of non-obviousness is a mandatory component of every obviousness
determination in which such evidence is present.

      In response, the Government points out that the U.S. Supreme Court in Graham v. John
Deere Co., referred to secondary indicia of non-obviousness as inquiries which merely “might”
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be utilized and “may” have relevancy. See Graham, 383 U.S. at 17-18, 86 S. Ct. at 684. The
Government quotes Graham, but italicizes only these two words and then immediately notes that
“the scope and content of the prior art,” the “differences between the prior art and the claims at
issue,” and “the level of ordinary skill in the pertinent art” are the only mandatory
considerations. By doing this, the Government appears to be insinuating that evidence of
secondary indicia of non-obviousness need not always be considered. To further support its
position, the Government contends that evidence of secondary indicia is not as important as
evidence of the mandatory considerations, citing cases in which the prima facie showing of
obviousness was found to outweigh evidence of secondary indicia. See, e.g., Pfizer, Inc. v.
Apotex, Inc., 480 F.3d 1348, 1372 (Fed. Cir. 2007); Leapfrog Enters., Inc. v. Fisher-Price, Inc.,
485 F.3d 1157, 1162 (Fed. Cir. 2007). Thus, the Government seems to be suggesting at least that
courts can simply skip over consideration of secondary indicia if there is a strong showing of
obviousness.

        The Court agrees with Zoltek’s statement of the law. It is well-settled that, if present, a
Court must consider evidence of secondary indicia of non-obviousness. In re Sullivan, 498 F.3d
1345, 1351-52 (Fed. Cir. 2007); WMS Gaming, Inc. v. International Game Technology, 184 F.3d
1339, 1359 (Fed. Cir. 1999) (“The consideration of the objective evidence presented by the
patentee is a necessary part of the obviousness determination.”); Custom Accessories, Inc. v.
Jeffrey-Allan Indus., Inc., 807 F.2d 955, 960 (Fed. Cir. 1986) (“When present, such objective
evidence must be considered.”); Kansas Jack, 719 F.2d at 1150-51. The weight to be given such
evidence is, of course, up to the court making the obviousness determination. Compare
Leapfrog, 485 F.3d at 1162 (evidence of secondary indicia outweighed by evidence of
obviousness) with Stratoflex, Inc. v. Aeroquip Corp., 713 F.2d 1530, 1538-39 (Fed. Cir. 1983)
(“[E]vidence of secondary considerations may often be the most probative and cogent evidence
in the record.”). But, even in the presence of a strong showing of obviousness, secondary indicia
should still not be ignored. Stratoflex, 713 F.2d at 1538 (“Enroute to a conclusion on
obviousness, a court must not stop until all pieces of evidence on that issue have been fully
considered . . . . [D]ecision should be held in abeyance, and doubt maintained, until all the
evidence has had its say.”) (emphasis in original). However, though the Court agrees with
Zoltek’s statement of the law on the importance of secondary indicia, the Court does not agree
with Zoltek’s characterization of the significance of the Government’s denial of Zoltek’s
discovery attempts or with Zoltek’s view on how the case should proceed.

       B.      The Significance of the Withheld Evidence

       In its brief, Zoltek states that the Secretary’s invocation of the privilege is blocking
Zoltek’s access to information concerning, in some fashion or another, most of the categories of
secondary indicia: “the use of partially carbonized sheets/mats/coatings on the B-2,” “whether
anyone provided products produced by a non-infringing process to Northrop for use on the B-2,”
whether “these non-infringing products fail[ed],” and “whether anyone from the Government or
Northrop was surprised and/or delighted by the results obtained from the products that were used
on the B-2 Bomber produced by Zoltek’s patented process.” To the extent that Zoltek has in fact
been denied discovery on all these topics, the Court does not agree that such denial will be as
prejudicial to Zoltek’s defense as Zoltek urges the Court to believe, because Zoltek has already

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obtained information relating to some of these topics and because Zoltek has not explained why
it could not get this type of information from other sources. 4

        First, Zoltek devotes an entire section of its brief to a discussion of the information it has
already obtained relating to secondary indicia, such as testimony from Nothrop’s suppliers and
various Northrop documents. Furthermore, the Court is doubtful that Zoltek has been
completely denied all evidence relating to secondary indicia. For example, in its brief Zoltek
claims it is being denied access to evidence of “the use of partially carbonized
sheets/mats/coatings on the B-2,” yet Zoltek has succeeded in obtaining physical samples and
associated specifications for all the relevant carbon fiber materials used on the B-2. Zoltek has
also been permitted to explore the types and amounts of carbon fiber materials obtained by
Northrop for use on the B-2 program. In a previous opinion in this case, the Court stated that
“invoices and purchase orders for partially carbonized fibers are not classified information and
are subject to discovery,” but that “[t]here is simply no basis for the Court to conclude that
Northrop has failed to produce purchase orders for partially carbonized fibers for use on the B-2 .
. . .” Opinion, October 24, 2006, at 4 n.5.

        In addition, Zoltek has not yet pursued all available discovery from Northrop. For
example, Zoltek has indicated its desire to depose Mr. George Rodgers, a Northrop employee,
about a letter that Mr. Rodgers had authored which described partially carbonized fiber products
as having unique or desirable attributes. However, as mentioned above, Northrop and the
Government never informed Zoltek that it could not take Northrop employees’ depositions at all,
just that the depositions would have to be limited to only eight of Zoltek’s nineteen proposed
topics. Evidently, Zoltek never pursued this option.

        Second, and equally as important, Zoltek has not shown that evidence of secondary
considerations is unavailable from other sources. The ‘162 patent itself describes an entirely
different use for the invention—an electrostatic shield for electronic automobile parts. During
the February 23, 2009 status conference, Zoltek admitted that it has not sought evidence of
secondary indicia from customers or competitors in other industries, such as the automobile
industry, and that it has so far focused only on the use of its invention in the stealth industry. In
Reynolds, the particular discovery sought by the plaintiffs was similarly not the only source from
which the plaintiffs could have obtained the evidence they needed. In taking this into account,
the Supreme Court noted that “[b]y their failure to pursue [the alternative source of evidence],
respondents have posed the privilege question for decision with the formal claim of privilege set

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  In addition, for evidence of Northrop’s activities to be proof of non-obviousness, Zoltek would
have to establish that the carbon fibers used on the B-2 meet the limitations of Zoltek’s claims
and that the success, praise, or unexpected results of the fibers stem directly from the fact that the
fibers infringe. Stratoflex, 713 F.2d at 1539 (“A nexus is required between the merits of the
claimed invention and the evidence [of secondary indicia] offered, if that evidence is to be given
substantial weight enroute to conclusion on the obviousness issue.”). In other words, in addition
to not knowing whether the Government and Northrop actually do have information relating to
the secondary indicia topics Zoltek lists, it is not clear that Zoltek would ultimately be able to
prove that the evidence does indicate non-obviousness.
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against a dubious showing of necessity.” Reynolds, 345 U.S. at 11, 73 S. Ct. at 534. Thus, the
Court simply ordered the case to proceed, without delving any further into the nature or content
of the privileged information. Id.

       Thus, the present motion actually concerns only Zoltek’s inability to access one potential
source of additional information concerning secondary indicia, not a complete denial of a
defense to invalidity. 5 With this in mind, the Court will consider how best to proceed.

III.   How Decision on the Government’s Motion Should Proceed

       A.      Law on the Effect of a Successful Invocation of the State Secrets Privilege

        Courts seem to be in universal agreement that the effect of a successful invocation of the
state secrets privilege “is simply that the evidence is unavailable, as though a witness had died,”
and that, with this in mind, “the case will proceed accordingly.” 6 Ellsberg v. Mitchell, 709 F.2d
51, 64 (D.C. Cir. 1983) (internal citations omitted); Al-Haramain Islamic Found., Inc. v. Bush,
507 F.3d 1190, 1204 (9th Cir. 2007). For example, if a plaintiff cannot prove its case against the
Government without the privileged information, the plaintiff’s case will be dismissed.
McDonnell Douglas, 323 F.3d at 1021, 1024; El-Masri v. United States, 479 F.3d 296, 306-307
(4th Cir. 2007). Dismissal is required in such an instance because courts cannot alter procedural
or substantive rules to preserve the plaintiff’s case, as the Government is subject to suit only on
the specific terms to which it has consented. Ellsberg, 709 F.2d at 64; see also Guong v. United
States, 860 F.2d 1063, 1066-67 (Fed. Cir. 1988); In re United States, 872 F.2d at 476 (citing
Salisbury, 690 F.2d at 975). Correspondingly, when the Government, as a civil defendant,
cannot make its defense without revealing the privileged information, dismissal of the plaintiff’s
claims is appropriate. Tenenbaum v. Simonini, 372 F.3d 776, 777 (6th Cir. 2004); Kasza v.
Browner, 133 F.3d 1159, 1166 (9th Cir. 1998). Courts also cannot, generally speaking, attempt
to circumvent the effect of an invocation of the privilege by reviewing undisclosed information
protected by the state secrets privilege in camera and then relying, without explanation or
disclosure, on the substance of the secret information in making a decision. See American-Arab
Anti-Discrimination Committee v. Reno, 70 F.3d 1045, 1070 (9th Cir. 1995) (Government was
not permitted to rely on privileged information, reviewed in camera, to satisfy its burden of proof
on an element, as “the failure to disclose information prevents its use in the adversary
proceeding”).




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  In contrast, if the Court were to grant Zoltek’s motion, the result would be a complete denial to
the Government of a defense to infringement.
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  During the status conference held on February 23, 2009, Zoltek’s counsel conceded that this is
the correct rule to be applied after a successful invocation of the state secrets privilege, but still
maintained that the Government should not be permitted to bring its motion for summary
judgment on the issue of obviousness.
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       B.      Analysis

        It is clear that the Court must proceed as though any evidence in the possession of the
Government that is relevant to secondary indicia and which falls within the scope of the assertion
of privilege is simply unavailable. Ellsberg, 709 F.2d at 64. Thus, the Court sees no reason why
the Government’s motion should be struck or held in abeyance at this point, as the same
evidence will still be unavailable at trial. Despite the seeming unfairness to Zoltek, invoking the
state secrets privilege to preserve national security is simply not a purpose which the Court finds
punishable. As the Fourth Circuit has stated, “[t]he unavailability of the evidence is a neutral
consideration, and, whenever it falls upon a party, that party must accept the unhappy
consequences.” In re Under Seal, 945 F.2d 1285, 1289 (4th Cir. 1991) (quoting Farnsworth
Cannon, Inc. v. Grimes, 635 F.2d 268, 271-72 (4th Cir. 1980)). Furthermore, as the Court will
explain below, proceeding with the Government’s motion while considering the privileged
evidence to be “unavailable” is not unprecedented and is not inconsistent with the standards for
obviousness determinations or the Court’s rules on summary judgment.

               1.      It is not unprecedented to proceed with a case when a party was
                       denied, on the basis of the state secrets privilege, access to evidence
                       relevant to a defense.

        Though not exactly analogous to the present situation, the Court finds McDonnell
Douglas to be instructive on this point. There, the Government had terminated the plaintiffs’
development contract for default. McDonnell Douglas, 323 F.3d at 1011. The plaintiffs then
sued to convert the termination to one for convenience, arguing a “defense” 5 of undisclosed
superior knowledge on the part of the Government. Id. at 1020. However, the Government
asserted the state secrets privilege to block the plaintiffs’ discovery attempts in regard to
evidence establishing superior knowledge. 6 Id. at 1020-21. Presented with an argument very
similar to the one advanced now by Zoltek, the Federal Circuit, citing Reynolds, found that no
analogy to the Fifth Amendment would “require that [the plaintiffs] be able to present all
defenses,” because the Government’s mere assertion of the state secrets privilege in a civil suit
does not elevate it “into the constitutional territory of a criminal prosecution.” Id. at 1023. Thus,
the court permitted the Government to force the plaintiff to suffer the consequences of a
termination for default while denying the plaintiff a full defense.



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  At several points in the opinion, the Federal Circuit referred to plaintiff’s superior knowledge
claim as a “defense,” while at another point, the court pointed out that the plaintiffs were “not at
jeopardy from an attack on them by the government,” but instead were “the plaintiffs in this
purely civil matter, suing the sovereign on the limited terms to which it has consented.” For
purposes of this opinion, this Court need not engage in the academic exercise of deciding
whether a claim of superior knowledge should be thought of in this context as a “defense” or as a
claim for affirmative relief, as it is only the general way in which the Federal Circuit treated the
equities involved in McDonnell that is relevant here.
6
  The alleged superior knowledge was, incidentally, information pertaining to the characteristics
and technology of the B-2 that make it capable of stealth operation.
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        The Fourth Circuit also encountered a situation somewhat similar to the present case. In
DTM Research, L.L.C. v. AT&T Corp., 245 F.3d 327, 332-34 (4th Cir. 2001), the plaintiff
alleged that the defendant, AT&T, had misappropriated its trade secrets. As a defense to this
claim, AT&T sought to show that the particular trade secret at issue was not protectable as it was
“readily ascertainable.” To prove this, AT&T desired to obtain evidence of independent
development by the United States Government, but was denied access to such evidence on the
basis of the state secrets privilege. The Fourth Circuit ultimately found that evidence of
independent development was “potentially relevant to some aspects of AT&T’s defense, but
[was] not central to the question of whether AT&T is liable for trade secret misappropriation.”
Id. at 334. Because AT&T could prove or disprove that it misappropriated anything without
evidence from the Government, AT&T had “overstate[d] [the] importance” of the withheld
evidence and the Fourth Circuit ordered the case to proceed. Id.

        Thus, cases have proceeded before where, as here, the withheld evidence is not critical to
the primary issue of the case and the party being denied discovery could still present a fair
defense without the evidence.

               2.     Proceeding with the Government’s motion would not be inconsistent
                      with the rule requiring Courts to consider evidence of secondary
                      indicia “when present.”

        The Court also does not find that proceeding on the Government’s motion for summary
judgment would be inconsistent with the rule discussed above regarding the requirement that
courts consider evidence of secondary indicia of non-obviousness. A court is required to
consider evidence of secondary indicia of non-obviousness only “when present.” WMS Gaming,
184 F.3d at 1359 (courts must consider “objective evidence presented by the patentee”)
(emphasis added); Custom Accessories, 807 F.2d at 960 (“When present, such objective evidence
must be considered.”) (emphasis added). However, if the state secrets privilege is invoked to
deny access to such information, then this evidence simply cannot be considered “present” in the
case. There is nothing improper about making an obviousness determination without
considering secondary indicia, if no evidence of secondary indicia is available. Custom
Accessories, 807 F.2d at960 (“[T]he absence of objective evidence does not preclude a holding
of nonobviousness because such evidence is not a requirement for patentability.”); Electro
Scientific Indus., Inc. v. General Scanning Inc., 247 F.3d 1341, 1352 (Fed. Cir. 2001) (upholding
finding of obviousness where no evidence of secondary indicia was present).

               3.     Proceeding with the Government’s motion would not be inconsistent
                      with the Court’s rules on summary judgment motions.

       Zoltek’s citation to RCFC 56(f) also does not persuade the Court that the Government
should be precluded from bringing its summary judgment motion. Under that Rule, if the party
opposing summary judgment cannot “present by affidavit facts essential to justify the party’s
opposition,” a court may refuse summary judgment or may grant a continuance to permit further
discovery. This Court has previously held that, to obtain relief under RCFC 56(f), the party
opposing summary judgment must “explain how the results of the [additional] discovery are

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reasonably expected to engender a genuine issue of material fact.” Chevron U.S.A. Inc. v. United
States, 72 Fed. Cl. 817, 819 (2006). Here, it is clear that any further attempts by Zoltek to
discover evidence of secondary indicia from the Government or Northrop that has previously
been denied to Zoltek would not have a reasonable expectation of success because the Court has
already upheld the Government’s assertion of the state secrets privilege. Therefore, the Court
cannot grant Zoltek any form of relief under RCFC 56(f). 7

V.      Conclusion

        The Court can find no reason why briefing and decision on the Government’s motion
should not proceed. While this Court ordinarily would seriously hesitate to permit a motion
seeking to extinguish a party’s property right when that party is not fully able to defend against
the motion, several factors in this case change the analysis. First and foremost, the state secrets
privilege is the root of the situation, and the preservation of national security must trump other
considerations. In addition, the Court’s anxiety over permitting the Government an opportunity
to challenge the validity of Zoltek’s patent while denying Zoltek access to a potential source of
evidence to defend against that challenge is somewhat allayed by (1) the fact that Zoltek is a
plaintiff in this case and can seek dismissal rather than face a partial forfeiture of its patent rights
and (2) the fact that Zoltek already has some evidence of secondary indicia, and (3) the
likelihood that additional discovery from Northrop is not the only way Zoltek could obtain
further evidence to help prove non-obviousness.

     Zoltek’s motion to strike the Government’s motion for summary judgment is therefore
DENIED.

                                                s/ Edward J. Damich
                                                EDWARD J. DAMICH
                                                Judge




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 The Court does not, however, reach the issue of whether efforts to obtain further evidence of
secondary indicia of non-obviousness from sources not related to the stealth industry or renewed
efforts to obtain non-privileged information from Northrop would be bases upon which to
postpone decision on the Government’s motion.
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